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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


                                       x
UNITED STATES OF AMERICA.                                 10 CR 579-01 (SRC)


       -against-

STEPHEN P. ARENA,

               Defendant.
                                       x

                            STIPULATION AND CONSENT ORDER

       IT IS HEREBY STiPULATED BY defendant. STEPHEN P. ARENA, through his

attorney. Nicholas G. Kaizer, and the Government, by Assistant United States Attorney Anthony

Moscato, Jr., that the terms of the September 21, 2011 Appearance Bond entered in the above-

captioned matter by the Hon. Esther Salas. U.S.M.J.. restricting STEPHEN P. ARENA’s pretrial

travel to New York and New Jersey are hereby modified to permit his travel by car to Florida

between February 12-27, 2010 for purposes of attending a convention related to his employment

and to visit family members.

       STEPFIEN P. ARENA, through counsel, represents and agrees that beginning on

February 13, 2011, he will stay with his mother-in-law, Jenny Danza, at the Salem House

Condominium (251 l72 Street, Sunny Isles. Fl. 33160) until February 17, 2011. at which time,

he will depart and check into the Diplomat hotel in Hollyood, Florida. Mr. Arena will leave

Florida on February 26 and arrive home in New York on February, 27. 2010,
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        Arena will also provide any additional information relative to his planned (ravel or stay in

 Florida as may be deemed appropriate by his Pretrial Services Officer.

        None of the other terms, conditions or restriction on Mr. Arena’s pretrial release are

 modified by this Stipulation and Order

 Dated: January,20 II



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                                          cE Asst.’
                                             Anthony Moseat Jr. ,


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                                             Newark, NJ 07102

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                                             SO ORDERED this fI           day of January, 2011,




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                                             STANLEY R. Cli lSLER
                                             United States District Judge
